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                   Exhibit 8
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1                            UNITED STATES DISTRICT COURT
2                       NORTHERN DISTRICT OF CALIFORNIA
3
4        FACEBOOK, INC. AND INSTAGRAM, )
         LLC,                                      )
5                                                  )
                      PLAINTIFFS,                  )
6                                                  )        CASE NO.
             v.                                    )        5:19-CV-07071-SVK
7                                                  )
         ONLINENIC, INC.; DOMAIN ID                )
8        SHIELD SERVICES CO., LIMITED; )
         AND DOES 1-20,                            )
9                                                  )
                      DEFENDANTS.                  )
10       ______________________________)
11
12
13                     VIDEOTAPED DEPOSITION OF THE PERSON
14
15                      MOST QUALIFIED OF ONLINENIC, INC.,
16                                      CARRIE YU
                               WEDNESDAY, JULY 14, 2021
17                               CHINA STANDARD TIME
18
19                                      VOLUME II
20
21
22
23
       JOB NO. CA 4690907
24     REPORTED BY: MARK McCLURE, CRR
                       CAL CSR 12203
25     PAGES 84 - 168

                                                                        Page 1

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1    VIDEOTAPED DEPOSITION OF CARRIE YU, VOLUME II, TAKEN AT
2    7:08 A.M., WEDNESDAY, JULY 14, 2021, VERITEXT REMOTE
3    TECHNOLOGY, BEFORE MARK McCLURE, C.S.R. #12203,
4    CERTIFIED SHORTHAND REPORTER IN AND FOR THE STATE OF
5    CALIFORNIA
6
7    APPEARANCES OF COUNSEL:
8    FOR THE PLAINTIFFS FACEBOOK, INC. AND INSTAGRAM:
9              (APPEARING BY VIDEOCONFERENCE)
               TUCKER ELLIS LLP
10             BY: HOWARD A. KROLL, ESQ.
               515 SOUTH FLOWER STREET
11             FORTY-SECOND FLOOR
               LOS ANGELES, CALIFORNIA 90071
12             213.430.3400
               HOWARD.KROLL@TUCKERELLIS.COM
13
14   FOR THE DEFENDANTS ONLINENIC, INC. AND DOMAIN ID SHIELD
     SERVICES CO., LIMITED:
15
                   (APPEARING BY VIDEOCONFERENCE)
16                 LEXANALYTICA, PC
                   BY: PERRY J. NARANCIC, ESQ.
17                 2225 E. BAYSHORE ROAD, SUITE 200
                   PALO ALTO, CALIFORNIA 94303
18                 650.655.2800
                   PJN@LEXANALYTICA.COM
19
20   ALSO PRESENT:
21             DAVID STEELE, TUCKER ELLIS
22             HELENA GUYE, TUCKER ELLIS
23             BART KESSEL, TUCKER ELLIS
24             OLIVIA GONZALEZ, ATTORNEY, FACEBOOK
25

                                                                       Page 2

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1    ALSO PRESENT:            - CONTINUED
2                     AMANDA LIN, INTERPRETER
3                     DREW DORSEY, VIDEOGRAPHER
4                     CRAIG JONES, VERITEXT CONCIERGE
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1    C-h-e-n-g.                                                                07:17

2    BY MR. KROLL:                                                             07:17

3          Q.     Are there any other companies located on the                 07:17

4    second and third floor?                                                   07:17

5          A.     Based on what I saw, no.                                     07:18

6          Q.     Who owns the building at 8, Guanri Road                      07:18

7    Software Park, Phase 2?                                                   07:18

8          A.     Should be 35.CN.                                             07:18

9          Q.     You also indicated you were going to locate                  07:18

10   the address of the tea selling company of Zhipo Chen.                     07:18

11                Have you done that?                                          07:18

12         A.     Yes.                                                         07:18

13         Q.     What is that address?                                        07:19

14         A.     Software Park, Phase 2, Wanghai Road, No. 39,                07:19

15   Unit 201.                                                                 07:19

16                INTERPRETER:     W-a-n-g-h-a-i Road.

17   BY MR. KROLL:                                                             07:20

18         Q.     Who owns the building at 39 Wanghai Road?                    07:20

19         A.     I'm sorry, it's not possible for me to know                  07:20

20   that information.                                                         07:20

21         Q.     Another thing we discussed was the fact that                 07:20

22   you looked at a piece of paper in answering one of my                     07:20

23   questions, and the document involved personnel.                           07:20

24                MR. KROLL:     Perry, have you discussed that                07:20

25   with your client and then are you expecting to send that                  07:20

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1    documents to plaintiffs?                                                07:24

2          A.     Let me explain my responses yesterday.      It             07:24

3    might have involved misunderstanding on my part and also                07:24

4    misunderstanding on your part, or some unclear                          07:24

5    expressions.                                                            07:24

6                 Yesterday, after the deposition, I talked to               07:25

7    Zhipo Chen and Shaohui Gong regarding the agreement                     07:28

8    pertaining to the sales of OnlineNIC, and I thought                     07:28

9    there was a paper form of agreement or a kind of written                07:28

10   or paper form of contract.     I thought there would be a               07:28

11   contract of this sort.                                                  07:28

12                But yesterday, when I was clarifying with                  07:28

13   them, they told me that no written agreement or contract                07:28

14   existed, it was just an oral agreement between them.                    07:28

15   Nothing was put down on paper.      So, yesterday, when I               07:29

16   gave that response saying that there was a contract or                  07:29

17   an agreement, I thought there was something written down                07:29

18   on paper.                                                               07:29

19                In Chinese, the word for "agreement" or the                07:29

20   phonetic spelling "xie yi," could be understood or                      07:29

21   interpreted as an oral agreement or a written agreement                 07:29

22   or a written contract, so I think that's a deviation or                 07:29

23   difference in between the Chinese and the English                       07:29

24   languages.                                                              07:29

25                So, yesterday, when I talked to Shaohui Gong               07:29

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1    and Zhipo Chen after my deposition about this agreement                     07:29

2    or contract, they told me that it was just an oral                          07:29

3    agreement, nothing was written down or put into a                           07:29

4    contract form or a written agreement or contract.            So             07:30

5    that was, maybe, a misrepresentation on my part                             07:30

6    yesterday.                                                                  07:30

7                 Secondly, regarding the loan agreement or                      07:30

8    contract by Rex Liu from -- with the borrowing with                         07:30

9    OnlineNIC, since this part of the document was not                          07:30

10   prepared by me, my personal understanding at first was                      07:30

11   that there should be such a contract, but this part of                      07:30

12   the document and the preparation of the document was                        07:30

13   done by our financial personnel, it was not done by me.                     07:30

14                So, yesterday, after my deposition, I was                      07:30

15   trying to clarify on this part with Zhipo Chen, as well                     07:30

16   as our counsel, and Zhipo Chen told me that Rex Liu was                     07:30

17   an old employee of OnlineNIC, so when he borrowed money                     07:30

18   from OnlineNIC, there was no need to prepare a contract                     07:31

19   or a written agreement.     It was, again, an oral                          07:31

20   agreement with Rex and OnlineNIC.                                           07:31

21                So, yesterday, when I said there was a                         07:31

22   contract for his loan, that part was not accurate.                          07:31

23                My answer right now should be, there is no                     07:31

24   contract or agreement for Rex borrowing from OnlineNIC,                     07:31

25   and this is what I was told by the CEO of OnlineNIC.                        07:31

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1                INTERPRETER:   Howard, I did not get a chance                08:21

2    to interpret Ms. Yu's response to the previous question.                 08:21

3                She said, "Yes."     She said, "Yes."                        08:21

4    BY MR. KROLL:                                                            08:21

5           Q.   Yesterday, we were talking about Rex Liu as an               08:21

6    employee of OnlineNIC.                                                   08:21

7                What is Rex Liu's Chinese name?                              08:22

8           A.   I'm sorry, I do not know his Chinese name, I                 08:22

9    only know his full English name.         If you want to know             08:22

10   his Chinese name, I can ask him after today's                            08:22

11   deposition.                                                              08:22

12          Q.   I think we'll be able to get there a different               08:22

13   way.                                                                     08:22

14               How old is Mr. Liu?                                          08:22

15          A.   About 60.                                                    08:22

16          Q.   Yesterday, you testified that Mr. Liu was not                08:23

17   an officer of OnlineNIC, is that correct?                                08:23

18          A.   That's correct.     He was not an officer,                   08:23

19   according to my understanding about his role involving                   08:23

20   in the operation of OnlineNIC, and according to my                       08:23

21   understanding about him.                                                 08:23

22          Q.   And currently, he's not an officer of                        08:24

23   OnlineNIC, is that correct?                                              08:24

24          A.   That's correct.                                              08:24

25          Q.   We also discussed Sily Chen, who was or is in                08:24

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1    charge of the financial matters of OnlineNIC.                           08:24

2                Do you recall that?                                         08:24

3          A.    Yes.                                                        08:24

4          Q.    Do you know Sily Chen's English name?                       08:24

5          A.    This is her English name.                                   08:24

6          Q.    What is her Chinese name?                                   08:25

7          A.    Lili Chen.                                                  08:25

8                INTERPRETER:    L-i-l-i C-h-e-n.                            08:25

9    BY MR. KROLL:                                                           08:25

10         Q.    And how old is Ms. Chen?                                    08:25

11         A.    In her 30s.                                                 08:25

12         Q.    You also testified that even though she is in               08:25

13   charge of the financial matters of OnlineNIC, that she's                08:26

14   not the chief financial officer, is that correct?                       08:26

15         A.    At least, she was not given such a title or a               08:26

16   position among the management team of OnlineNIC.                        08:26

17         Q.    Who's the management team of OnlineNIC?                     08:26

18         A.    I'm not sure what you're asking about for this              08:26

19   question.                                                               08:27

20               Are you asking about the number of people on                08:27

21   the team or the names of the people on the team?                        08:27

22         Q.    The names of the people on the management team              08:27

23   of OnlineNIC.                                                           08:27

24         A.    First of all, the CEO is Zhipo Chen.        The vice        08:27

25   president is me.    The support manager is Jack.        The last        08:27

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1     BY MR. KROLL:

2          Q.    What is the Chinese name of Leon Huang?                       08:40

3          A.    Huang Zhenxin.                                                08:40

4                INTERPRETER:     H-u-a-n-g, family name;

5     Z-h-e-n-x-i-n, first name.

6     BY MR. KROLL:

7          Q.    What is the first name of the technical                       08:41

8     manager, whose last name is Wang?                                        08:41

9          A.    Huidong Wang.                                                 08:41

10               INTERPRETER:     H-u-i-d-o-n-g, first name;

11    W-a-n-g, last name.

12    BY MR. KROLL:

13         Q.    Does he have an English name?                                 08:41

14         A.    Which one are you asking about?                               08:41

15         Q.    Huidong Wang.                                                 08:41

16         A.    His English name is Evan.                                     08:41

17               INTERPRETER:     E-v-a-n.                                     08:41

18    BY MR. KROLL:

19         Q.    Let's see if I have this right.                               08:42

20               The CEO, the vice president, the support                      08:42

21    manager, the marketing manager, the sales manager and                    08:42

22    the technical manager are the management team of                         08:42

23    OnlineNIC, is that correct?                                              08:42

24         A.    Yes.                                                          08:42

25         Q.    Do all of the managers report to you, as the                  08:42

                                                                           Page 30

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1     vice president?                                                         08:42

2          A.     Yes.                                                        08:42

3          Q.     I believe you testified that the management                 08:43

4     team does not refer to Sily Chen or give her the title                  08:43

5     of chief financial officer, is that correct?                            08:43

6          A.     That's right.                                               08:43

7                 MR. KROLL:   I'd like to mark as Exhibit 9 the              08:43

8     2017 statement of information to the Secretary of State.                08:43

9                 (Exhibit 9 marked for identification.)                      08:44

10    BY MR. KROLL:                                                           08:44

11         Q.     Ms. Yu, do you see that document?                           08:44

12         A.     Which one, Exhibit 9?                                       08:44

13         Q.     9.                                                          08:44

14         A.     Yes.                                                        08:45

15         Q.     This is a document filed with the Secretary of              08:45

16    State for the State of California, filed by OnlineNIC on                08:45

17    July 24, 2017.     It is titled "Statement of Information."             08:45

18    It lists three officers of OnlineNIC.                                   08:45

19                Do you see that?                                            08:45

20         A.     Yes.                                                        08:45

21         Q.     It lists Rex Liu as an officer of OnlineNIC.                08:45

22                Do you see that?                                            08:46

23         A.     Yes.                                                        08:46

24         Q.     Is that a correct statement to the Secretary                08:46

25    of State?                                                               08:46

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1            Q.    Are you a director of OnlineNIC?                                08:54

2                  MR. NARANCIC:     Objection.     Vague and                      08:54

3     ambiguous.     Calls for legal conclusion.                                   08:54

4     BY MR. KROLL:

5            Q.    You may answer.                                                 08:54

6            A.    At that time, I was.                                            08:54

7            Q.    Are you still a director of OnlineNIC?                          08:54

8            A.    I am not.                                                       08:54

9            Q.    Who's a director of OnlineNIC?                                  08:54

10           A.    Right now, we do not have such a position.                      08:54

11           Q.    When did you stop becoming a director of                        08:55

12    OnlineNIC?                                                                   08:55

13                 MR. NARANCIC:     Objection.     Vague and                      08:55

14    ambiguous.     Calls for speculation.                                        08:55

15    BY MR. KROLL:                                                                08:55

16           Q.    You may answer.                                                 08:55

17           A.    There are a lot of questions you have asked                     08:56

18    today, they are not related to the deposition notice so                      08:56

19    it's hard for me to answer those questions.               Those              08:56

20    questions would call for information from a long time                        08:56

21    ago.    It's hard for me to recall and remember.             If you          08:56

22    really want the information, I can look and see if such                      08:56

23    relevant records exist, and then I can provide the                           08:56

24    information to you, if they are available, either                            08:56

25    tomorrow or at the next deposition.                                          08:56

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1             A.   In her 30s, below 40, or around 40, it seems               09:04

2     like.                                                                   09:05

3             Q.   Does she speak English?                                    09:05

4             A.   No.                                                        09:05

5             Q.   Does she read and understand English?                      09:05

6             A.   No.                                                        09:05

7             Q.   Was the 2013 RAA between ICANN and OnlineNIC               09:05

8     translated for her into Chinese?                                        09:05

9             A.   No.                                                        09:06

10            Q.   How much money was paid by her to Shaohui Gong             09:06

11    for the purchase of OnlineNIC?                                          09:06

12            A.   Based on the information I got from Zhipo                  09:06

13    Chen, it was a small amount of money.                                   09:06

14            Q.   How much is a small amount of money?                       09:06

15            A.   It seems like it was around 50,000 USD.                    09:06

16            Q.   And Ms. Chen paid Shaohui Gong $50,000 in 2009             09:07

17    or 2010, is that correct?                                               09:07

18            A.   Based on what I know, yes.                                 09:07

19            Q.   In 2009 or 2010, when she purchased OnlineNIC              09:07

20    from Shaohui Gong, did she become the sole shareholder                  09:07

21    of OnlineNIC?                                                           09:07

22            A.   In fact, she had already become a de facto                 09:07

23    shareholder of OnlineNIC.                                               09:08

24            Q.   What does that mean?                                       09:08

25            A.   According to our informal process internally               09:08

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1     that time, and, secondly, I was not the person in charge              09:28

2     of that.   So, regarding whether or not she had such                  09:28

3     persons in 2009, I do not know and I am not sure about                09:28

4     it.                                                                   09:28

5           Q.   Other than OnlineNIC and the tea company, are              09:28

6     there any other companies that Zhipo Chen runs?                       09:28

7           A.   Whether she does or does not, I don't feel                 09:28

8     that would be the information she would tell me.                      09:28

9           Q.   How did she meet Mr. Shaohui Gong?                         09:29

10          A.   I do not have this information.                            09:29

11          Q.   Does she have a personal relationship with                 09:29

12    Mr. Shaohui Gong?                                                     09:29

13          A.   What aspect are you asking about when you say              09:29

14    "a personal relationship"?                                            09:29

15          Q.   Do they have a social relationship?                        09:29

16          A.   Based on what I know, they are friends.                    09:29

17          Q.   Were they friends before 2009?                             09:30

18          A.   Yes.                                                       09:30

19          Q.   Do they have an intimate relationship with                 09:30

20    each other?                                                           09:30

21          A.   Based on what I know, no.                                  09:30

22          Q.   Going back to the management team for                      09:30

23    OnlineNIC, are all members of the management team                     09:30

24    employees of 35.CN?                                                   09:30

25          A.   Yes.                                                       09:30

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1                MR. NARANCIC:     Howard, whenever you feel                   09:31

2     comfortable --                                                           09:31

3                MR. KROLL:     I have one more question and then              09:31

4     we'll take a break.                                                      09:31

5                MR. NARANCIC:     No problem.                                 09:31

6     BY MR. KROLL:

7          Q.    And are all members of the management team                    09:31

8     paid by 35.CN?                                                           09:31

9          A.    All the people are paid by 35.CN, for all                     09:31

10    those people I just named, except for Zhipo Chen.                        09:31

11         Q.    Does she receive any salary?                                  09:32

12         A.    Not to my knowledge.                                          09:32

13         Q.    Does she receive any money from OnlineNIC for                 09:32

14    acting as the CEO?                                                       09:32

15         A.    According to the financial information I have                 09:32

16    come into contact with during the past few days for my                   09:32

17    preparation for the deposition, the answer is no.                        09:32

18         Q.    And just to make sure, is Zhipo Chen an                       09:32

19    employee of 35.CN?                                                       09:32

20               MR. NARANCIC:     Objection to form.                          09:33

21               THE WITNESS:     She is not.                                  09:33

22    BY MR. KROLL:

23         Q.    Has Zhipo Chen ever been an employee of 35.CN?                09:33

24               MR. NARANCIC:     Same objection.                             09:33

25               THE WITNESS:     No.                                          09:33

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1          Q.    Do you have that document, Ms. Yu?                            10:40

2          A.    Which one?     What's the exhibit number?                     10:40

3          Q.    14.                                                           10:40

4          A.    Okay, I see it.                                               10:40

5          Q.    On the first page of Exhibit 14, which is four                10:41

6     pages in length, do you see a check for $100,000 to                      10:41

7     OnlineNIC on January 30, 2015?                                           10:41

8          A.    Yes.                                                          10:41

9          Q.    And the check is from the checking account of,                10:41

10    I assume, Rex Liu, is that correct?                                      10:42

11               MR. NARANCIC:     Objection as to form.                       10:42

12               THE WITNESS:     I think so.                                  10:42

13    BY MR. KROLL:

14         Q.    Does that refresh your memory as to what Rex                  10:42

15    Liu's Chinese name is?                                                   10:42

16         A.    Right, but here, it only shows the phonetic                   10:42

17    spelling of the Chinese characters, but as to what                       10:42

18    specific Chinese characters those are, I would not know.                 10:42

19         Q.    Are you familiar with Rex Liu's signature?                    10:43

20         A.    I'm not very familiar with it.                                10:43

21         Q.    All right.     And you understand that page 1 of              10:43

22    Exhibit 14 is a $            payment by Rex Liu to OnlineNIC             10:43

23    on January 30, 2015, to repay -- partially repay a                       10:43

24    $         loan from OnlineNIC to Rex Liu, correct?                       10:43

25         A.    Yes.                                                          10:44

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1          Q.     If you turn to page 2 of Exhibit 14, do you                   10:44

2     see a $            check from L&L Oil, LLC, to OnlineNIC,                 10:44

3     Inc., on January 30, 2015?                                                10:44

4          A.     Yes.                                                          10:44

5          Q.     And do you understand that that's a partial                   10:44

6     payment by L&L Oil, LLC, to OnlineNIC for the $                           10:44

7     loan from OnlineNIC to Rex Liu?                                           10:45

8          A.     Yes.                                                          10:45

9          Q.     And so the first two pages show repayment of                  10:45

10    $          out of the $           that was loaned to Rex Liu,             10:45

11    correct?                                                                  10:45

12         A.     Yes.                                                          10:45

13         Q.     The third page has three transactions dated                   10:45

14    January 22, 2015.                                                         10:45

15                Do you see that?                                              10:46

16         A.     Yes.                                                          10:46

17         Q.     And each line is for $            .                           10:46

18                Do you see that?                                              10:46

19         A.     Yes.                                                          10:46

20         Q.     Can you tell me what the first line or three                  10:46

21    lines represent?                                                          10:46

22         A.     I think this shows the bank record.                           10:46

23         Q.     The bank record of what?                                      10:46

24         A.     According to the information Rex told me, he                  10:46

25    prepaid another payment of the amount of $                 from           10:47

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1     his personal account and it was paid to an account                      10:47

2     designated by the CEO of OnlineNIC.                                     10:47

3          Q.      What was the account designated by the CEO of              10:47

4     OnlineNIC?                                                              10:47

5          A.      Are you asking about the account information               10:47

6     or the name of the payee?                                               10:48

7          Q.      The name of the payee.                                     10:48

8          A.      Is it shown in any of these three                          10:48

9     transactions?                                                           10:48

10                 Perhaps we can try to find it.                             10:48

11                 Is it there?                                               10:48

12                 You can see in the information following the               10:48

13    letters BNF.                                                            10:48

14                 Do you see a name there?                                   10:48

15         Q.      Yes, I do see a name.                                      10:48

16         A.      I need to check and verify with Zhipo Chen                 10:49

17    whether the payees are these three individuals.                         10:49

18         Q.      Well, the question I have is:      Are these the           10:49

19    payees or are these the people who paid off $                of         10:49

20    loans?                                                                  10:49

21         A.      According to what Rex told me and according to             10:49

22    my understanding of the information he gave me, these                   10:49

23    three individuals should be the people who received the                 10:49

24    money, but, of course, I would check on that with Zhipo                 10:49

25    Chen again.                                                             10:50

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1             Q.      With the first individual, Chen Jinshun -- who               10:50

2     is that?                                                                     10:50

3             A.      I do not know this person.                                   10:50

4             Q.      Why did Zhipo Chen tell Rex Liu to pay Chen                  10:50

5     Jinshun?                                                                     10:50

6             A.      For the specific reasons I need to ask Zhipo                 10:50

7     Chen.        However, according to my understanding about the                10:51

8     situation in China, China has very strict limitations on                     10:51

9     receiving payments and money made in foreign currencies                      10:51

10    by individuals, so it is common to ask other people to                       10:51

11    receive foreign currencies on behalf of other people in                      10:51

12    China.                                                                       10:51

13            Q.      Is Chen Jinshun related to Zhipo Chen?                       10:51

14            A.      I do not know.    I need to ask her.                         10:52

15            Q.      Is Chen Jinshun related to Sily Chen?                        10:52

16            A.      I do not think so.     It seems that you are very            10:52

17    interested in this family name, Chen, and let me tell                        10:53

18    you a story, and I think Amanda knows about it, too.                         10:53

19                    In China, people who have the family name                    10:53

20    Chen -- there are a lot of people with that family name.                     10:53

21    It is a large family name in China.             Many people have             10:53

22    that family name, but it doesn't mean that they are                          10:53

23    related.                                                                     10:53

24            Q.      I understand that.     I was just checking to see            10:53

25    if there's any relation.                                                     10:53

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1                  Who is Yang Meiqing?                                          10:53

2             A.   The same.     The same.   I do not know.     I need           10:53

3     to check with Zhipo Chen, but I think it's just another                    10:54

4     individual who she told Rex Liu to send the wire payment                   10:54

5     to.                                                                        10:54

6             Q.   Who is Liu Miao Fu?                                           10:54

7             A.   I don't know, either.       I need to check with              10:54

8     that.                                                                      10:54

9             Q.   If you can turn to the last page of Exhibit                   10:54

10    14.

11                 Could you tell me what this page is?                          10:54

12            A.   I think this is a bank record.                                10:54

13            Q.   Of OnlineNIC?                                                 10:55

14            A.   According to what is shown in the document,                   10:55

15    yes.                                                                       10:55

16            Q.   What bank is this?                                            10:55

17            A.   Citibank.                                                     10:55

18            Q.   Where is Citibank located?                                    10:55

19            A.   You see, Howard, for a lot of questions you're                10:55

20    asking me today, they are not listed in the deposition                     10:56

21    notice, so for this question, you're asking me about                       10:56

22    this bank record.        My answer is, I do not know.      I need          10:56

23    to check.                                                                  10:56

24            Q.   Okay.   The first three pages --                              10:56

25            A.   Were you asking me about the address of the                   10:56

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1     bank earlier?                                                                10:56

2          Q.       No.                                                            10:56

3          A.       Then what were you asking?                                     10:56

4          Q.       The city location.                                             10:56

5          A.       So I need to check and verify.                                 10:56

6          Q.       The first three pages of Exhibit 14 shows a                    10:56

7     total payment of $           , correct?                                      10:56

8          A.       Yes.                                                           10:57

9          Q.       The loan to Rex Liu, though, was for $                  ,      10:57

10    correct?                                                                     10:57

11         A.       Yes.                                                           10:57

12         Q.       Has Rex Liu paid off the remaining $            ?              10:57

13         A.       Based on what is shown in the document or                      10:57

14    documents, I do not think so, but I am not sure if the                       10:58

15    CEO of OnlineNIC has decided to keep the remaining                           10:58

16    $         .   I'm not sure about that because that was the                   10:58

17    agreement between them.                                                      10:58

18                  According to the Chinese representation, Rex                   10:58

19    and Zhipo Chen told me -- they made the representation                       10:58

20    to me in Chinese.      Rex had already repaid all of the                     10:58

21    loan, which means he did not need to repay the $                  .          10:58

22         Q.       If I understand you correctly, Rex Liu was                     10:59

23    loaned $310,000 by OnlineNIC and paid OnlineNIC                              10:59

24    $300,000, and no more money is owed by Rex Liu to                            10:59

25    OnlineNIC, is that correct?                                                  10:59

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